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 9                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
10                                    AT TACOMA
11
     JASON NOLIN, individually; TERRI EWING,
12   individually,                                          No.

13                               Plaintiffs,                COMPLAINT FOR INJURIES AND
14
                                                            DAMAGES IN TORT
            v.
15
     PV HOLDING CORPORATION, a Massachusetts
16   corporation; LINDSAY A. DOHERTY and "JOHN
17
     DOE" DOHERTY, wife and husband,

18                               Defendants.

19

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            The plaintiffs, by and through their attorney of record, Jeffrey Sadler, of SADLER

21   INJURY LAW GROUP, LLP, alleges and complains as follows:

22                                             I. PARTIES
23
            1.1     Defendant PV HOLDING CORPORATION, a Massachusetts corporation,
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     was at all times licensed to do and doing business in Massachusetts and/or Missouri.
25
     Defendant was the owner of the 2018 Chevrolet Malibu involved in the hereinafter-described
26

27   collision. Defendant PV Holding Company entrusted Defendant Lindsay Doherty with use of

     the vehicle.

     COMPLAINT– Page 1                                            SADLER INJURY LAW GROUP LLP
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 1          1.2     Defendants LINDSAY A. DOHERTY and "JOHN DOE" DOHERTY were,
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     at all times, residents of Michigan and were husband and wife pursuant to the laws of
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     Michigan. Defendant Doherty was the driver of the 2018 Chevrolet Malibu involved in the
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     hereinafter-described incident.

 6          1.3     At all times relevant hereto, Defendant Lindsay A. Doherty was an agent for

 7   PV Holding Corporation.
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            1.4     Plaintiff Jason Nolin was, at all times relevant hereto, a resident of Pierce
 9
     County, Washington. Jason Nolin was a passenger in the 1999 Ford Club Wagon E350
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     passenger van involved in the hereinafter-described collision.

12          1.5     Plaintiff Terri Ewing was, at all times relevant hereto, a resident of Pierce

13   County, Washington. Terri Ewing was a passenger in the 1999 Ford Club Wagon E350
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     passenger van involved in the hereinafter-described collision.
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                                   II. JURISDICTION AND VENUE
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            2.1     This court has jurisdiction over the subject matter and the parties involved

18   herein pursuant to diversity jurisdiction as set forth in Title 28, Section 1332 of the United

19   States Code (28 U.S.C. § 1332(a)), as the amount in controversy exceeds $75,000.00 and
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     there is complete diversity of citizenship among the parties.
21
                                              III. FACTS
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            3.1     On or about March 16, 2018, Plaintiffs Jason Nolin and Terri Ewing were

24   passengers in the Ford E350 driving at the intersection of West 31st Street and Southwest

25   Trafficway in Jackson County, Kansas City, Missouri.
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            3.2     Defendant Doherty was driving directly behind the vehicle in which the
27
     plaintiffs were passengers.


     COMPLAINT– Page 2                                                SADLER INJURY LAW GROUP LLP
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 1           3.3     Defendant Doherty failed to stop her vehicle and collided with the rear end of
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     the plaintiffs’ vehicle.
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             3.4     Defendant caused injury to Plaintiff Jason Nolin and Terri Ewing.
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                                            IV. DAMAGES

 6           4.1     As a direct and proximate result of the collision and because of the negligent

 7   acts and omissions on part of Defendants, Plaintiffs suffered bodily injury causing special
 8
     and general damages.
 9
             4.2     As a direct and proximate result of the collision and because of the negligent
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11
     acts and omissions of Defendants, Plaintiffs incurred medical expenses and other special

12   expenses in an amount to be proven at the time of trial.

13           WHEREFORE, Plaintiffs pray for judgment against the defendants as follows:
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             1.      For medical expenses and future medical expenses incurred as a result of the
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     collision caused by the negligence of the defendants;
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17
             2.      For general damages incurred as a result of the accident caused by the

18   negligence of Defendants, in an amount to be proven at the time of trial;

19           3.      For special damages in an amount to be proven at the time of trial;
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             4.      For costs and disbursements herein to be expended; and
21
             5.      For such other and further relief as the court deems just and equitable.
22

23
             DATED this 4th day of March, 2021.

24                                                 SADLER INJURY LAW GROUP, LLP

25                                                 By: /s/Jeffrey Sadler
                                                      Jeffrey Sadler, WSBA #27136
26
                                                      705 S 9th St, Ste 305, Tacoma, WA 98405
27                                                    253.573.1700 | jeff@sadler-law.com
                                                      Attorney for Plaintiff


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